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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION
OPIATE LITIGATION                                  MDL No. 2804

THIS DOCUMENT RELATES TO:                          Case No. 1:17-MD-2804

All Cases                                          Judge Dan Aaron Polster




              NOTICE OF EIGHTH AMENDED BANKRUPTCY COURT
            ORDER GRANTING INJUNCTION AGAINST CONTINUATION
             OF PROCEEDINGS AS TO RELATED PARTIES TO DEBTOR
                PURDUE PHARMA L.P. AND AFFILIATED DEBTORS

       On March 30, 2020, the United States Bankruptcy Court for the Southern District of New

York (the “Bankruptcy Court”) issued an order extending and modifying the preliminary

injunction (“Injunction”) previously entered by the Bankruptcy Court, including the injunction

that was attached to the undersigned Related Party Defendants’ Notice of Sixth Amended

Bankruptcy Court Order, filed February 24, 2020 in this multi-district action (Doc. 3183). See

Eighth Amended Order Pursuant to 11 U.S.C. § 105(a) Granting Motion for a Preliminary

Injunction, In re Purdue Pharma L.P., et al., Case No. 19-23649 (RDD), Adv. Pro. No. 19-

08289, Dkt. No. 168 (Bankr. S.D.N.Y. Mar. 30, 2020) (the “Eighth Amended Preliminary

Injunction Order”), a copy of which (without appendices) is attached as Exhibit 1 hereto. The

Eighth Amended Preliminary Injunction Order is in effect through and including October 5,

2020. See Ex. 1 at 6.

       Numerous plaintiffs currently in this multi-district proceeding have also agreed to abide

by the terms of the Injunction through and including July 8, 2020 without the need to have any
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order entered against them. See id. at 5-6, ¶ (g). Those plaintiffs are further identified in the

Verified Statement of the Multi-State Governmental Entities Group pursuant to Rule 2019 of the

Federal Rules of Bankruptcy Procedure, filed in In re Purdue Pharma L.P., No. 19-23649

(RDD), Doc. # 409, Ex. A (Bankr. S.D.N.Y. Oct. 30, 2019).

        Notwithstanding the filing of this notice, the undersigned Related Party Defendants

expressly preserve all of their defenses, including, but not limited to, the lack of personal

jurisdiction.


                                            Respectfully submitted,

                                            /s/ Stuart G. Parsell
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                                            Ilene Sackler Lefcourt, Theresa Sackler, David
                                            Sackler, the Estate of Raymond Sackler, Rosebay
                                            Medical Company L.P., Rosebay Medical
                                            Company, Inc., Beacon Company, and Richard
                                            Sackler and Jonathan Sackler as alleged Trustees of
                                            the alleged Trust for the Benefit of Members of the
                                            Raymond Sackler Family, and Former Attorneys to
                                            Beverly Sackler




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 2nd day of April, 2020, the foregoing was electronically filed

with the Clerk of the Court using the CM/ECF system. Notice of this filing will be sent to all

counsel of record by operation of the Court’s electronic filing system.



                                               /s/ Stuart G. Parsell
                                               Stuart G. Parsell (0063510)

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